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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 0:19-cv-63012-AHS

  RYAN TURIZO,

         Plaintiff,

  v.

  GS BAYVIEW, LLC d/b/a AVANA BAYVIEW,

        Defendant.
  _______________________________________/



                  DEFENDANT’S MOTION TO DISMISS PURSUANT TO
                    FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
            ______________________________________________________________



         Defendant GS BAYVIEW, LLC d/b/a AVANA BAYVIEW, by and through its

  undersigned counsel, hereby files this motion pursuant to FRCP Rule 12(b)(6). Defendant seeks

  dismissal of Plaintiff’s Complaint in full, as the Complaint (Docket #1) fails to state a claim

  upon which relief can be granted as a matter of law or fact.

  I.     Standard for Grant of a Rule 12(b)(6) Motion

         A complaint is properly dismissed upon a 12(b)(6) motion “on the basis of a dispositive

  issue of law.” Nietzke v. Williams, 490 U.S. 319, 326, 109 S.Ct. 1827 (1989). Dismissal

  pursuant to a 12(b)(6) motion is also warranted if it does not contain sufficient factual matter,

  accepted as true, ‘to state a claim to relief that is plausible on its face.’” Boyd v. Warden, 856

  F.3d 853, 863 (11th Cir. 2017), quoting Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937,

  1948 (2009). Any inference of a “mere possibility of misconduct” is insufficient for the Plaintiff
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  to prevail on a 12(b)(6) motion. Iqbal, 556 U.S at 678, 129 S.Ct. 1948. Factual allegations in

  the complaint must “be enough to raise a right to relief above the speculative level … on the

  assumption that all the allegations in the complaint are true (even if doubtful in fact).” Bell Atl.

  Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955 (2007). Elevation of the claim from the

  merely speculative to the requisite facial plausibility to withstand a 12(b)(6) motion will occur

  only when the Plaintiff “pleads factual content that allows the court to draw the reasonable

  inference that the defendant is liable for the misconduct alleged.” Inclusive Communities

  Project, Incorporated v. Lincoln Property Company, 920 F.3d 890, 899 (5th Cir. 2019).

           The Court must view the factual allegations in the Complaint “as true and … in a light

  most favorable to the plaintiff.” Boyd at 863-64. However, “a legal conclusion couched as a

  factual allegation” need not be accepted as true. Papasan v. Allain, 478 U.S. 265, 286, 106 S.Ct.

  2932 (1986); see also, Iqbal at 678. A “‘naked assertion’ devoid of ‘further factual

  enhancement’” will not allow a complaint to survive a 12(b)(6) motion. Iqbal at 678, quoting

  Twombly, at 557. With regard to Plaintiff’s Complaint, both the lack of relevant factual content

  and also the “naked assertions” of legal conclusions render the action fatally flawed and plainly

  subject to dismissal under this motion.

  II.      Plaintiff Claims Unlawful Discrimination Under the Fair Housing Act From a

           Single Question to the Community Regarding the Effect of His Criminal History.

           Plaintiff’s Complaint alleges violation by Defendant of the federal Fair Housing Act, 42

  U.S.C. § 3601 et seq. Specifically, Plaintiff, who describes himself as a “tester” seeking only to

  “enforce fair housing laws,” contends he contacted a rental apartment community in Pompano

  Beach, Florida owned by Defendant known as Avana Bayview (the “Community”). Complaint

  ¶¶ 4, 7. Plaintiff alleges that he inquired about the application procedures at the Community, and



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  was told by Defendant’s agent that the Community would automatically deny any applicant

  seeking to rent housing at the community who has a “felony criminal record.”1 Complaint ¶ 8.

           Plaintiff admits that he himself has a “felony criminal record” but specifically denies he

  was actually looking for rental housing when he inquired at the Community. Nonetheless,

  Plaintiff alleges just being verbally told on one occasion when he inquired that his housing

  application would be “automatically denied” because of his criminal record constitutes unlawful

  intentional discrimination under the Fair Housing Act. Plaintiff contends this alleged

  discrimination resulted in damage to him in the form of discouragement, restriction of housing

  choice, deprivation of housing opportunity, and various emotional and psychic injuries from the

  asserted intentional discrimination. Complaint ¶¶ 8, 27.

           Plaintiff also contends that Defendant’s alleged policy of automatic denial of “any

  prospective individual with a felony criminal record perpetuates segregated housing patterns and

  discourages and/or obstructs choices in the applicable community, neighborhood, and/or

  development,” depriving Plaintiff of housing opportunities he denies he was seeking. Complaint

  ¶ 11. Plaintiff alleges that Defendant’s “policy regarding the criminal history of applicants

  seeking to rent, utilize, or otherwise occupy” the Community “is unlawful under the Fair

  Housing Act, as it has a disparate impact on individuals of Hispanic/Latino heritage and/or

  descent.” Complaint ¶14. In short, Plaintiff alleges the existence and application of a facially

  neutral policy banning any housing applicant with a criminal history from the Community, and

  summarily concludes the “policy” is “unlawful” because of a disparate impact on a group




  1
   Defendant disputes Plaintiff’s characterization his interaction with the Community as described
  in the Complaint. See n. 4, below. Because of Plaintiff’s failure to state a prima facie case of
  unlawful discrimination under the Act, however, a dispute over the particulars of the scope of
  that interaction are immaterial to this motion.

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  characteristic protected by the federal Fair Housing Act. For all the reasons below, Plaintiff’s

  claims are unsupported by factual allegations, and constitute mere “naked conclusions” of law

  insufficient to sustain the Complaint against this challenge by motion.

  III.     A Prima Facie Case of Discrimination under the Fair Housing Act Requires Some

           Showing of Both Fact and Causation

           Plaintiff’s claims of both discriminatory intent and discriminatory effect under the Fair

  Housing Act are combined into a single cause of action under the Fair Housing Act. See

  Complaint, Count I – “Violation of the Fair Housing Act.” Because the two theories of

  discrimination have different elements for the successful assertion of a valid prima facie case,

  Defendant has separated them for analysis under this motion.

           A.        Plaintiff’s Complaint does not allege unlawful intentional discrimination

                     based on any class or characteristic protected by the Fair Housing Act.

           The Fair Housing Act makes it unlawful for any housing provider to “refuse to negotiate

  for the … rental of, or otherwise make unavailable or deny, a dwelling to any person because of

  race, color, religion, sex, familial status, or national origin.”2 42 U.S.C. §3604(a)(1). Plaintiff’s

  allegation of intentional unlawful discrimination is based on his claim to have been told by the

  Community on one occasion that his housing application would be denied because of his

  criminal record.

           A prima facie claim of “disparate treatment” or “discriminatory intent” under the Fair

  Housing Act can be established “by showing that animus against the protected group was a




  2
   Discrimination in housing rental or sales “or to otherwise make unavailable or deny, a dwelling
  to any buyer or renter because of” disability, are also prohibited by the Act. 42 U.S.C.
  §3604(f)(1).


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  significant factor in the position taken by the …decision-makers themselves or by those to whom

  the decision-makers were knowingly responsive.” Fortune Society v. Sandcastle Towers

  Housing Development Fund Corp., 388 F.Supp.3d 145, 177 (E.D. N.Y. 2019), quoting Mhany

  Mgmt. Inc. v. City of Nassau, 819 F.3d 581, 600, 606 (2d Cir. 2016). In the Complaint, Plaintiff

  does not state any facts supporting a conclusion that the result of his one encounter with the

  Community’s agent was motivated by anything other than the criminal record he disclosed to the

  agent. Plaintiff does allege, however, that Defendant has violated the Fair Housing Act by

  “making unavailable and/or otherwise denying the Dwelling to Plaintiff on the basis [sic] of race

  and/or criminal record.” 3 Complaint ¶26.

           Significantly, “criminal record” is not a characteristic or class of persons protected by the

  Fair Housing Act. Evans v. UDR, Inc., 614 F.Supp.2d 675, 691 (E.D. N.C. 2009) (“the FHA

  clearly does not prohibit landlords from denying a person occupancy on the basis of his criminal

  record”). Absent evidence that consideration of a criminal record is used as a “pretext” for

  unlawful discrimination, no discriminatory “purpose” in violation of the Act is shown. Facts

  supporting a claim of pretext might be, for instance, allegations that a particular screening

  criterion is applied only to some applicants and not to others, or not as a usual and customary

  practice, and that the deviation from usual practice correlates to a protected characteristic. See,

  e.g., United States v. Collier, 2010 WL 3881381 at *10 (W.D. La. Sept. 28, 2019).




  3
    Plaintiff’s allegation of discrimination on the basis of “Hispanic / Latino heritage and / or
  descent” would appear to be a claim of discrimination on the basis of national origin, rather than
  race as alleged in the Complaint. In the event Plaintiff’s Complaint survives this motion to
  dismiss, Defendant will seek a “more definite statement” as to the basis of the discrimination
  alleged. FRCP 12(e).



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           The only alleged discriminatory act on the part of Defendant is a single interaction with

  Defendant’s agent. The Complaint includes no facts alleging that housing applicants not of

  “Hispanic / Latino heritage or descent” or of a certain race are not subject to the same criminal

  history screening criteria to which he was. The Complaint also includes no facts alleging that

  any applicants from outside the claimed protected class are not “automatically denied” for any

  felony criminal conviction. Absent the allegation of any facially plausible facts that application

  of criminal history screening is a mere pretext for discrimination because of a protected

  characteristic, Plaintiff has not stated even a prima facie case of discriminatory treatment under

  the Fair Housing Act. No reasonable finder of fact could credibly conclude that Defendant’s

  alleged response to Plaintiff’s inquiry was motivated by anything other than Plaintiff’s record of

  criminal conviction. Plaintiff’s claim of unlawful intentional discrimination (or unlawful

  disparate treatment) under the Fair Housing Act must be dismissed under Rule 12(b)(6) as

  matters of both law and fact.

           B.        Plaintiff’s complaint does not establish a prima facie claim for unlawful

                     disparate impact (or unlawful discriminatory effects) under the Fair Housing

                     Act.

           Alternatively, a facially neutral practice or policy can be challenged under the Fair

  Housing Act as having an unlawful “disparate impact,” because it “has a segregative effect or

  that it makes housing options significantly more restrictive for members of a protected group

  than for persons outside that group.” Hallmark Developers, Inc. v. Fulton Cty., Ga., 466 F.3d

  1276, 1286 (11th Cir. 2006). The brief 33 paragraph Complaint explicitly concludes without

  factual basis that Defendant’s “policy” is “unlawful” under the Fair Housing Act because “it has

  a disparate impact on individuals of Hispanic / Latino heritage and/or descent” in at least six



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  paragraphs. See e.g., Complaint ¶¶ 9, 14, 16, 17, 18, 25. Plaintiff’s conclusions of the existence,

  operation, and application of an alleged “policy” that is “unlawful” and has a “disparate impact”

  on a protected class are wholly unsupported by any facts.

           In 2015, the Supreme Court held that disparate impact claims (“claims asserting an

  unjustified, disproportionally adverse effect on minorities”) are cognizable under the Act. Texas

  Department of Housing & Community Affairs v. Inclusive Communities Project, Inc., -- U.S. --,

  135 S.Ct. 2507 (2015) (“Inclusive Communities”). The Supreme Court recognized that since the

  Act makes it unlawful to “otherwise make unavailable or deny” housing because of a protected

  class, disparate impact claims that focus on the “results” of a housing practice must be included

  as part of the Fair Housing Act’s “central purpose … [of] eradicat[ing] discriminatory practices”

  in the United States. Id. at 2521. But the Court also recognized that a disparate impact claim of

  discrimination could pose a danger of “displac[ing] valid governmental and private priorities”

  with a solely race-based decision, such as the adoption of “numerical quotas.” Id. at 2522-24. To

  safeguard against that danger, the Supreme Court in Inclusive Communities made clear that “a

  disparate-impact claim that relies on a statistical disparity must fail if the plaintiff cannot point to

  a defendant’s policy or policies causing that disparity.” Id. This mandate to show both a policy

  and a “robust causality … ensures that ‘[r]acial imbalance … does not, without more, establish a

  prima facie case of disparate impact.” Id.

           Even before the Supreme Court’s decision in Inclusive Communities, however, the

  Eleventh Circuit had already held that at least some “relevant statistical showing” is the

  minimum required to support a disparate impact claim of discrimination under the Fair Housing

  Act. In Schwarz v. City of Treasure Island, 544 F.3d 1201 (11th Cir. 2008), an operator of

  halfway houses for recovering alcoholics (considered “disabled” under the Act) alleged that a



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  city’s zoning ordinance had a disparate impact on the protected class of people with disabilities.

  The operator’s claim failed and was dismissed, however, because he provided no comparative

  data to support a prima facie case of disparate impact. The Schwarz plaintiff failed to provide

  “an adequate statistical foundation for a disparate impact claim because he presented no

  comparative data at all,” relying instead on a “bald assumption” that the ordinance’s effect on the

  halfway houses would have a disparate impact on recovering alcoholics. Id. at 1217-18.

           Under Inclusive Communities, therefore, a prima facie case of disparate impact

  discrimination will fail unless it demonstrates both relevant statistical disparity (evidence

  comparing members of the protected class affected by the challenged policy with non-members

  affected by the challenged policy), and also a plausible showing of “robust causality” between

  the challenged policy and that statistical disparity. Inclusive Communities at 2522-2523.

  Succinctly, a “plaintiff who fails to allege facts at the pleading stage or produce statistical

  evidence demonstrating a causal connection cannot make out a prima facie case of disparate

  impact.” Id.; see also Oviedo Town Center II, L.L.L.P. v. City of Oviedo, Florida, 759

  Fed.Appx. 828 (11th Cir. 2018) (granting defendants’ 12(b)(6) motion to dismiss complaint

  alleging disparate impact discrimination under the Fair Housing Act).

           [1] Plaintiff blithely concludes without any factual support in his Complaint that[1]
           Defendant’s criminal history policy and/or practice is arbitrary, artificial, and
           unnecessary to achieve a valid interest or legitimate objective such as a practical
           business, profit, policy consideration, or requirement of law;
           [2] there is a robust causal link between the challenged policy aor practice and a
           disparate impact on Hispanic / Latino people that shows the specific practice is
           the direct cause of the discriminatory effect;
           [3] the disparity caused by the policy and/or practice is significant; and
           [4] there is a direct link between the disparate impact and Plaintiff’s injury.
  Complaint ¶25.



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           As fully set forth below, the Complaint fails to provide factual support for the existence

  of any allegedly facially neutral policy with unlawful discriminatory effects, fails to provide any

  factual support for any racial disparity in housing applications, and also fails to prove any

  “robust causality” between an alleged policy and an alleged statistical racial disparity.

  Defendant’s motion to dismiss must be granted.

                     i.       The Complaint does not state the existence of any facially neutral policy

                              with allegedly discriminatory effects.

           Plaintiff’s only factual allegation of the existence of facial neutral policy with a racially

  discriminatory effect is a single paragraph of the Complaint:

           As part of Plaintiff’s investigation into potential discrimination in the housing market,
           Plaintiff inquired about Defendant’s policy regarding the criminal record of applicants
           applying to rent the Dwelling. Defendant responded by stating that any felony criminal
           record would result in an automatic denial of an applicant seeking to rent the Dwelling.
           Plaintiff has a felony criminal record.4

  Complaint ¶8. Plaintiff apparently supposes that a description of a single encounter with a single

  agent of Defendant is sufficient to preliminarily establish the existence of a customarily applied

  policy. Plaintiff is incorrect. A “threshold” foundation for a claim of disparate impact is factual

  support for the proposition as to whether a “policy” allegedly causing the discriminatory effect

  even exists. See Fortune Society, 388 F.Supp.3d at 173 (denying summary judgment to plaintiff




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   In fact, Defendant disputes the allegation that Plaintiff asked about the effects of felony
  convictions on the general application process as a whole. Rather, in the event Plaintiff’s
  complaint survives this motion, Defendant will show that in his single “test” of the Community
  (as well as in his many other identical “tests” in the state of Florida), Plaintiff specifically asked
  about the effect of his own felony conviction on his application. Since Plaintiff’s factual
  allegations must be taken as true at this stage, this dispute of fact is immaterial for this motion.


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  on disparate impact claim for alleged criminal history ban because “plaintiff cannot meet its

  burden without [an] initial showing that a ban exists”).

           Other than the allegation of a one-time decision stated during Plaintiff’s verbal exchange

  with Defendant’s agent5, the Complaint is devoid of any factual allegations of the existence of a

  challenged “policy.” While a single encounter might be factually sufficient for a case of

  intentional discrimination (or disparate treatment) to survive a motion to dismiss, a single

  encounter does not a “policy” make. Inclusive Communities, 135 S.Ct. at 2523 (a disparate

  impact plaintiff “will not easily be able to show … a policy causing a disparate impact because

  … a one-time decision may not be a policy at all.”). As Plaintiff’s Complaint fails to meet even

  the prima facie element of a disparate impact case (identifying an operative policy allegedly

  causing a discriminatory effect), the Complaint must be dismissed.

                     ii.      Disparate impact discrimination theory requires statistical evidence of

                              racial disparity and a causal connection between that disparity and the

                              challenged policy to make out a prima facie claim of violation of the

                              Fair Housing Act.

           As in the failed claim of disparate impact discrimination in Schwarz, Plaintiff here has

  provided “no comparative data at all” to show that any particular class of people protected by the

  Act are disproportionately impacted by the challenged alleged “policy” of criminal history

  screening. Schwarz, 544 F.3d at 1217-18. Like the Schwarz plaintiff, Plaintiff here makes

  nothing but a “bald assumption” that the challenged policy is “unlawful,” and “has a disparate




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    As noted above, Plaintiff’s allegations regarding that single encounter cannot reasonably lead to
  a conclusion of unlawful discriminatory intent on the basis of anything other than the
  unprotected class of prior criminal offenders.

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  impact on individuals of Hispanic/Latino heritage and/or descent.” Complaint at ¶25. Plaintiff

  not only neglects “to allege facts at the pleading stage or produce statistical evidence” in support

  of this “naked conclusion” of disparate impact, he has also utterly failed to provide any evidence

  of the “robust causality” between the challenged policy and the disparate impact claimed.

  Oviedo Town Center II 759 Fed. Appx. at 835 (upholding trial court’s finding of lack of prima

  facie case of disparate impact).

           Plaintiff’s attempts to meet the Supreme Court’s Inclusive Communities prima facie

  standard for a claim of disparate impact rest solely on his vague reference to “recent data, studies

  and HUD findings” that “Hispanic / Latino people are arrested, convicted, and imprisoned at

  vastly disproportionate rates in Florida and the country as a whole.” Complaint ¶13. The

  Complaint appears to ascribe the alleged “recent data, studies and HUD findings” regarding

  disproportionate representation of “Hispanic / Latino” people being “arrested, convicted, and

  imprisoned” to a 2016 HUD “Office of General Counsel Guidance on Application of Fair

  Housing Act Standards to the Use of Criminal Records by Providers of Housing and Real Estate-

  Related Transactions”.6 As a “guidance” document, this memorandum only expresses HUD’s

  enforcement policies for those allegations of disparate impact discrimination it investigates or

  prosecutes. Plaintiff’s general conclusory allegation of unlawful disparate impact from criminal

  history screening are based solely on quotations of hearsay policy statements from HUD’s

  guidance document, are not factually specific to the challenged alleged “policy” at issue in the

  Complaint, and are inaccurately and misleadingly excerpted by Plaintiff. Specifically, the

  Complaint alleges that




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   The 2016 HUD General Counsel guidance document referenced by Plaintiff’s Complaint can be
  found here.

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            The U.S. Department of Housing and Urban Development (“HUD”) has found that
            “where a policy or practice that restricts access to housing on the basis of criminal
            background has a disparate impact on individuals of a particular race … such policy or
            practice is unlawful under the Fair Housing Act if it is not necessary to serve a
            substantial, legitimate, nondiscriminatory interest of the housing provider.”

  Complaint ¶12. This “finding” of HUD is predicated on the assumptions that the application of a

  particular “policy” is established and that a statistical racial disparity is established. The instant

  Complaint does neither, and Plaintiff’s reliance on the HUD guidance for factual evidence of his

  allegations is misplaced and insufficient as matters of fact and law.

            Perhaps more significantly, HUD’s policy position on disparate impact has changed since

  the 2016 guidance document. Specifically, in a 2019 final rule on the “Fair Housing Act’s

  Discriminatory Effects Standard,” HUD newly adopted the formula for establishment of a prima

  facie case of disparate impact discrimination in Fair Housing Act cases set forth by the Supreme

  Court in Inclusive Communities. 84 Fed. Reg 160 p. 42854 at 42857 (August 19, 2019).7

  HUD’s preamble explanation of the 2019 final rule explains that “claims relying on statistical

  disparities must articulate how the statistical analysis used supports a claim of disparate impact

  by providing an appropriate comparison which shows that the policy is the actual cause of the

  disparity.” 84 Fed. Reg. at 42858. Without that showing, a plaintiff has not alleged the prima

  facie element of a “robust causal link” between the policy and the claimed disparate impact

  required by the Inclusive Communities decision.

            Further, HUD’s preamble to the final rule also notes that a disparate impact plaintiff must

  “allege that the challenged policy or practice has an adverse effect on members of a protected

  class.” 84 Fed. Reg. 42858. HUD states that “it would be insufficient to allege only that the




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      The entire preamble and the final rule itself can be found here.

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  plaintiff is a member of a protected class and would be adversely affected or that members of a

  protected class are impacted as are all individuals.” Id. This latter insufficient allegation is the

  interpretation of the Complaint most favorable to Plaintiff. Even with the presumption of factual

  truth, the Complaint cannot be saved from its fatal defect of failure to state a claim upon which

  relief can be granted as a matter of law.

           As Plaintiff has failed to meet his burden of establishment of even a prima facie case of

  disparate impact discrimination under the Fair Housing Act, Defendant’s motion must be granted

  and Plaintiff’s Complaint dismissed in full.

  V.       Conclusion

           The defects in the Complaint as described above prevent Plaintiff from stating a claim for

  relief under the sole count: violation of the Fair Housing Act. Plaintiff has alleged no facts

  under which any reasonable finder of fact could plausibly conclude that the motivation for the

  information conveyed in Plaintiff’s encounter with Defendant’s agent was motivated by anything

  other than Plaintiff’s own criminal history. Likewise, the Complaint does not set forth the

  necessary factual foundation regarding the existence of a challenged “policy”, any statistical

  racial disparity in acceptance of housing applications, or any “robust causation” linking the two.

  Essentially, Plaintiff’s Complaint alleges only that he was told on one occasion that his housing

  application would be denied because of his felony conviction. That sole allegation of fact is

  utterly insufficient to support Plaintiff’s claim of unlawful discrimination under the Fair Housing

  Act for either a disparate treatment or disparate impact theory. Since the Complaint does not

  state even a prima facie case of unlawful housing discrimination, it must be dismissed in its

  entirety. Defendant respectfully requests this Court grant its motion to dismiss pursuant to

  Federal Rule of Civil Procedure 12(b)(6).



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           Respectfully submitted this 24th day of February 2020.



                                                           s/ Ryan R. McCain
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                                          CERTIFICATE OF SERVICE



  I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the CM/ECF

  on February 24, 2020 on all counsel or parties of record on the Service List below.




                                                   BY:       s/ Ryan R. McCain

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